UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------X
In re:

VICTORIA STENNETT,                                           CASE NO: 23-42675-ESS
                                                             CHAPTER 13
                                    Debtor.
---------------------------------------------------------X
STATE OF NEW YORK )
                                     SS:
COUNTY OF NASSAU )

        I, Wendy Cavanagh, being duly sworn, say: I am not a party to this action, am over 18
years of age and reside at Hauppauge, New York.
        On September 5, 2023, I served the within Notice of Motion for Order Modifying and
Terminating Automatic Stay with In Rem Relief, Application in Support with annexed
Exhibits and proposed order by depositing a true copy thereof enclosed in a post-paid wrapper
in an official depository under the exclusive care and custody of the U.S. Postal Service within
New York State, addressed to each of the persons set forth below at the last known address set
forth after each name:
TO:
        Victoria Stennett                           Office of the United States Trustee
        Pro se Chapter 13 Debtor                    Eastern District of NY (Brooklyn Office)
        1454 Flatbush Avenue                        Alexander Hamilton Custom House
        Brooklyn, New York 11210                    One Bowling Greet, Room 510
                                                    New York, New York 10004-1408
        Krista M. Preuss, Esq.
        Chapter 13 Trustee                          Michael J. Chatwin, Esq.
        100 Jericho Quadrangle, Ste. 127            Robert W. Griswold, Esq.
        Jericho, New York 11753                     Shari S. Barak, Esq.
                                                    LOGS Legal Group LLP
                                                    175 Mile Crossing Boulevard
                                                    Rochester, New York 14624


                                                                  \s\ Wendy Cavanagh
                                                                  Wendy Cavanagh
SWORN TO BEFORE ME THIS
5th day of September, 2023

\s\ Cara M. Goldstein
Notary Public


  Cara M. Goldstein
  Notary Public, State of New York
  No. 02G04996119
  Qualified in Nassau County
  Commission Expires May 11, 2026
